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                                                                 [Doc. No.      ]

                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE

 STRIKE 3 HOLDINGS, LLC,       :
                               :
                Plaintiff,     :
                               :
      v.                       :            Civil No. 18-12585 (NLH/JS)
                               :
 JOHN DOE SUBSCRIBER ASSIGNED :
 IP ADDRESS 76.116.36.190,     :
                               :
                Defendant.     :
 ______________________________:

                                    O R D E R

       This matter is before the Court on a remand from the District

 Court for entry of an Order on the “Motion for Leave to Serve a

 Third Party Subpoena Prior to a Rule 26(f) Conference” [Doc. No.

 4] filed by plaintiff, Strike 3 Holdings, LLC. The Court exercises

 its discretion to decide plaintiff’s motion without oral argument.

 See Fed. R. Civ. P. 78; L. Civ. R. 78.1.

       For the reasons set forth by the District Court,

       IT   IS   HEREBY   ORDERED    this   ___   day   of   July   2020     that

 plaintiff’s “Motion Seeking Leave to Serve a Third Party Subpoena

 Prior to a Rule 26(f) Conference” [Doc. No. 4] is GRANTED; and it

 is further

       ORDERED that Plaintiff may serve a Rule 45 subpoena on Comcast

 Cable Communications, LLC (Comcast Cable), defendant’s ISP, which

 assigned the IP address associated with defendant-76.116.36.190.

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 In the subpoena plaintiff may only request information regarding

 the name and address associated with the IP address. This Order

 shall be attached to the subpoena; and it is further

       ORDERED that upon receipt of plaintiff’s subpoena the ISP

 shall have thirty (30) days to provide the IP subscriber with a

 copy of this Order and plaintiff’s subpoena. Upon receipt of the

 subpoena and this Order the IP subscriber has thirty (30) days in

 which to file a motion to quash, move for a protective order or

 seek other applicable relief. If the IP subscriber chooses to

 contest the subpoena he/she must notify the ISP of his/her intent

 so the ISP is on notice not to release personal information to

 plaintiff until the issue is resolved by the Court; and it is

 further

       ORDERED that       if the IP subscriber does not contest the

 subpoena within thirty (30) days of receipt of the subpoena and

 this Order, the ISP shall provide plaintiff with the requested

 information     within    twenty-one       (21)   days.     Any   information

 plaintiff receives from the ISP may only be used for the purpose

 of protecting its rights as set forth in the complaint.


                                     _____________________________
                                     JOEL SCHNEIDER
                                     United States Magistrate Judge




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